       Case 2:24-cr-00093-DCN         Document 27       Filed 06/28/24     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO
CRIMINAL PROCEEDINGS – Video Status Conference

  Chief Judge David C. Nye                         Date: June 28, 2024
  Case No. 2:24-cr-00093-DCN                       Deputy Clerk: Jenny Mitchell
  Place: Pocatello, ID (via Zoom)                  Reporter: Anne Bowline
                                                   Time: 9:58 – 10:14 AM

          UNITED STATES OF AMERICA v. ALEXANDER SCOTT MERCURIO

  Counsel for United States:         Heather Patricco & Justin Whatcott

                                     Steve Roberts, Carter L. Powers Beggs and Danielle
  Counsel for Defendant:
                                     Giffin (Summer Intern)

  Classified Information Officer     W. Scooter Slade


(ꓫ) Role called.
(ꓫ) Counsel agreed to participate via Zoom.
(ꓫ) Defense advised Defendant waived his attendance/participation in conference.
(ꓫ) Government provided update on case status and discovery status.
(ꓫ) Defense provided update on case status and discovery status.
(ꓫ) Discussion regarding SCIF reviews.
(ꓫ) Brief discussion regarding future status conferences.
(ꓫ) Conference adjourned.
